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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

    UNITED STATES OF AMERICA,          §
                                       §
                      Plaintiff,       §
                                       §
 v.                                    §        CASE NO. 7:20-CV-329
                                       §
 0.382 ACRES OF LAND, MORE OR LESS, §
 SITUATE IN STARR COUNTY,              §
 STATE OF TEXAS; AND JESUS             §
 ALVAREZ, JR., ET AL.,                 §
                                       §
                    Defendants.        §
______________________________________________________________________________

                           JOINT STATUS REPORT
______________________________________________________________________________

         The United States of America (“United States”), through the undersigned Assistant United

States Attorney, and Defendant Jesus Alvarez, Jr., through Attorney Peter McGraw, (collectively,

“Parties”) file this joint status report in accordance with the Court’s June 01, 2021 order: 1

        1. The United States filed an Amicus Brief Regarding Ownership of the Subject Property

             on May 27, 2021. 2 On the same day, Defendant Jesus Alvarez, Jr. had filed a Motion

             Seeking Determination of Ownership and Motion to File Exhibits Under Seal, which

             also address title issue in the present matter. 3 Accordingly, the Parties agree that title

             issue in the present matter is ripe for the Court’s consideration.

        2. Upon the Court’s determination of title, the Parties will seek a determination of just

             compensation and request that the Court set a status conference or issue a scheduling

             order for said issue. To be noted, as the Parties request a determination of just


1
  Dkt. No. 48.
2
  Dkt. No. 43.
3
  Dkt. Nos. 45 & 46.


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             compensation, the two pending motions—Defendant Jesus Alvarez, Jr.’s Rule

             71.1(i)(1)(C) Motion to Dismiss Plaintiff’s Complaint in Condemnation and

             Declaration of Taking 4 and United States’ Opposition to Defendant’s Motion to

             Dismiss and Cross-Motion to Strike Improper Defenses Motion to Strike 5—will

             become ripe for the Court’s consideration. 6

                                                       Respectfully submitted,


                                                       JENNIFER B. LOWERY
                                                       Acting United States Attorney
                                                       Southern District of Texas

                                               By:      s/ Chanmealea Thou
                                                        CHANMEALEA THOU
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                                                        Attorney in Charge for Plaintiff


                                                       FOR DEFENDANTS

                                                       s/ Peter McGraw w/ Permission
                                                       PETER McGRAW
                                                       Attorney in Charge for Defendant Jesus
                                                       Alvarez, Jr.
                                                       Texas Bar No. 24081036
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                                                       Email: pmcgraw@trla.org

4
  Dkt. No. 22.
5
  Dkt. No. 28.
6
  See Dkt. No. 40.


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                                CERTIFICATE OF SERVICE

       I, Chanmealea Thou, Assistant United States Attorney for the Southern District of Texas,

hereby certify that on this 10th day of August 2021, a copy of the foregoing will be served via

regular U.S. mail on all parties who do not receive ECF notification in accordance with the Federal

Rules of Civil Procedure.


                                                     s/ Chanmealea Thou
                                                     CHANMEALEA THOU
                                                     Assistant United States Attorney




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